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                                    IN THE UNITED STATES DISTRICT COURT
                                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                                             EASTERN DIVISION


                JAMES HAUGEN, on behalf of himself,             )
                and all other plaintiffs similarly situated,    )
                known and unknown,                              )
                                                                )
                                   Plaintiff,                   )   No. 18-cv-07297
                                                                )
                                      v.                        )
                                                                )   Honorable Judge Elaine E. Bucklo
                ROUNDY’S ILLINOIS, LLC D/B/A                    )
                MARIANO’S                                       )
                                                                )
                                 Defendant.                     )



                                  CONSENT TO JOIN FLSA COLLECTIVE ACTION

                     Pursuant to 29 U.S.C. § 216(b), I hereby consent to being a Party Plaintiff in a case against
            Roundy’s Illinois, LLC (a/k/a Mariano’s) to recover back wages arising from violations of federal,
            state and local wage and hour laws, known as Haugen et al. v.Roundy’s Illinois, LLC., Case No.
            18-CV-07297, currently pending before the United States District Court for the Northern District
            of Illinois. I authorize the filing of this Consent and pursuit of claims in my name and on my behalf
            against Roundy’s for its alleged failure to pay wages and overtime as required under federal, state
            and local law as alleged.

                       Uruja Razzak
            NAME: ________________________________________
                                                   08/17/2015                   09/22/2018
            DATES EMPLOYED: START __________________                      END:______________________
                                                Marianos
            LOCATION EMPLOYED: ___________________________________________________




                                                                                           1/27/2020
            YOUR SIGNATURE: _________________________________                     DATE:______________


                                                                4
